 Case 1:15-cv-00752-GBL-JFA Document 1-1 Filed 06/15/15 Page 1 of 12 PageID# 6




1                              COMMONWEALTH OF VIRGINIA
2                               Circuit Court for Loudoun Coun^
3


4


5    CARLOS GRANADOS,
 6
           Pliiintifif
7


 8
     V.                                      Case No.   tS'STI
     BANK OF AMERICA,                                                  cn
 9
     100 North Tiyon Street
10   Charlotte, NC 28255                                               1
                                                                         I
            SERVICE: The Corporation                                    00

11              Trust Incorporated
            351 West Camden St
12
            Bahimore, MD 21201                                          V?
13
     SHELLPOINT MORTGAGE
14    SERVICING

15
     NEW PENN FINANCIAL, LLC
     STE200
16   4000 CHEMICAL RD.
     PlymouthMeeting,PA 19462
17
            SERVICE: SHELLPOINT
18
               MORTGAGE SERICING
            STE.200
19          400 Chemical R(L
            PlymouthMeeting, MD 19462
20

21

22   and Does 1 to 100, inclusive
23
          Defendants.
24


25

26

27


28




            exhibit..^:—1               Granados vs Shellpolnt
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2                                             COMPLAINT

 3          Plaintiff named herdn, pursuantto Va. Sup. Ct R. 3:2 and Va. Code Ann. § 8.01-lS.lA,
4
     submits this Complaintagainst Defendantnamed, as follows:
                                                 PARTffiS
5
            1. Plaintifrareresidents and citizens ofLoudoun, Virginia residing at 22837ZION
 6
     CHAPEL DRASHBURNVA 20148. Therealpropotyandtiiecontiaaifaesal^ectoftfiis
 7
     a^on is sited in and all acts occuned tbe same city and state.
 8
            2. Defendant SHELLPOINT MORTGAGE [hereafter "SEL"] is sited in. domidled and
 9
     does business in die Commonwealth ofVi^inia at all times.
10
             3. Defendant BankofAmericaNA [hereafter "BOA"] investorofthis loan is sited in.
11   domiciled and does business in the Commonwealth ofVirginia at all times.
12                    4. DefendantDoes 1-20are unnamedpotential parties who may be joined and
13   suedupondiscovery oftl^ true names and ctqmcities. Plaintiffreserves the rightto amend her
14   complaint to reflectthe true names and capacities whensameare ascertained.
15
            5. Anyrefoence hereinto Doesis to an urddentified persons or entityyet to be named
     by amendment or similarmeans underVa. Codes.
16

17
                                      VENUE AND JURISDICTION
18
           6. This Court has jurisdiction over all parties because they are Virginiacitizens, have
19
     minimum contacts with OT do busln^ within this court's jurisdiction.
20
            7. Voiue is qjinopriately within in the Circuit Court ofFairfex County pursuantto Va.
21   CodeAnn. § 8.01-262, becausethe real propoty is locatedtiiereinand tiie events,torts and
22   contractual breachragivingrise to plaintiffs claimsagainst all defendants occurredin tiie City
23   ofFaizfiix,Va.
24   t




25
                                       FACTUAL ALLEGATIONS

26
             8. Plainti£& are is by grant deed the property owner ofreal property located as pled
     above, by reason of a grant deed dated 31" day ofMay 2007.
27


28




                                            Granados vs Shellpolnt
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             9. Plaintiffallege that she obtained a loan firom Bank ofAmerica [or] BOA, [its
     successor ininterest] on31*^ day of May 2007. The Note was inthesum of $ 685.000.00
     PlaintifPs nu>nthly paymoits commenced atthe sum of$ 3,929.92. He is not behind onany term
     ofcondition ofthenote payments orotherwise. Plaintiffbelieves that hisNote may not be
5
     enfinceable by BOA based onconflicting repmentations n^gence predatory loiding practices
     hehas been receiving commencing inorabout November, 2011. Plaintiffalso alleges that if
6
     Selene Financial theholder in course does own tiie rights under tiienote, SEL has notproperly
7
                      thg fimdf received and that he has been overcharged for amounts that are
8
     unenforceable as excessive, overrated, mis-accounted for and that SEL mayintend on using
 9
     diese discrepancies tocommence a foreclosure iqwn him illegally. As aresult ofdie
10
     irregularities in his financial statements and from statements made to him by bank agents and
11   employe^ Plaintifis allege that some orall ofthe terms ofthe Note that m^ be due isin some
12   mannpT unenforceable because SELandBOA hasovercharged the account andhasdone so in
13   thepast Such sums as penalties and interest due would not be enforceable under the terms of
14   the Note to wUch he agreed.
                10.
15


16
     and yet possibly due by declaration and judgment so as to quiet the issue once and for all time.
     The              ofthis action seeks remedies allowed under the law in damages and equitable relief
17
     as pled.
18

19                     FIRST CAUSE OF ACTION FORDECLARATORY RELIEF >
20
            11. PlaintifEs re-alleges and incorporates the allegations contained inthe preceding
21
     paragraphs, asthough setfortii at length herein.
22

23
                12. Piainriffa alleges that a real ease and controversy has arisen between plaintiffand all
                    based onseveral allegations herein. Plaintiffalleges that atno time hoeto, did any
24
                  orDoe hciein hold the right toenforce the Note and Deed ofTrust for the subject
25
      property. And ifthey did none has been forthright about &e true sums paid and properly creditec
26

27    ' Under Federal statutes

28




                                                Granados vs Shellpoint
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1       to his account Nor has there htea an accounting or acknowledgement ofdebt validation or pay
2       ofTofthe note plaintiffseeksto extinguish, et al. Thematter is ripe for a declaratory relieforder
3       with fiiKimga andconclusions confirming tiie stateof the fiicts leading to detennination of rights
4


5
                 13. Plaintiffi alleges thatno defendant hoein haslegal            Thereceipt of loan
    6
        payments does not indepoidently establish such. Plaintiffasserts fbat the alleged security lien
7       [deed of trust] may bevoid andtheobligation a non-sccurcd asset. Therefore, any claim of
    8   Defoidants diould be deemed unsecured md the Deed ofTrust void, the note unsecured and/or
    9   satisfied.

10
                 14. Plainti£& urgesthat in this cause, a declaration ofrights and ranedies should be forth
11

        coming afterevidence is received sufficient to support a verdictor judgmentagainst the
12

13
        defendants. It is necessary that^   Court declare the actual rights andobligations of theparties

14
        andmakea determination as to the validity, nature andextentofDefendants' interest in tte

15      Property andall parties' rifi^ duties andobligations.
16

n                        SECOND CAUSE OF ACTION FOR FRAUD AND DECEIT
                15. Plaintiffincorp<mite the content ofthe preceding allegations as tiious^ fully setforth
18
        consisting oftheelements and special foctual allegation sufficient to allege fiaud.
19
                16. Plaintiffwas given Acts andinformation about hisloan fiom defendant and others
20
        and Does in formulating his Note.
21
               17. Plaintiffalleges thattilenamed Defendants andDoes, inclusively, otgaged in a
22      pattern and practice ofdefiauding borrowers includhig Plaintiff. First tiie Note that was based
23      ondieLoan develqpmait itselfwas comqited bytheuseof unqiproved andnon-loan industry
24      criteriafor the loanthus,causing plaintiffto pay morein up fiont fees, charges andassessments
25      to "get" or obtain the loan «han should have occurred. Also the fabrication of tiie note was
26
        machiavellian and predatory and designed to escalate the payments to $5,266.83 after 10years
27
        yet it           on or around November 2011.

28




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1    Therefore this was a piedatoiyloan designed to de&ultat the bonrower like a timebombready to
2    reset dumge the tenns with a new payment completelyunaiTordable at tibe year of2011 and
3    increasefirom $3,929.92 to ahigber amount, wdiidi in reality is exactlyvdiathsqipened giventhe
4
     inqne^on fliat the bonower was at finilt whentfiepigment dian^ to $ 5,266.82 making die

5
     b(HTowerinca^le to handle it.
     Therefore diis was a teaser mortgage paymentwith an undisclosed teaser ratejust to deceive the
 6
     borrower and makehim believethat was amortizing his loan principaland interestand to
7
     unjustly enrichthe holder ofthe note at the secondaiymaricet and in the sale ofdiis as securities,
8
     which bcOTsido'a teaser rate much less lower than the fixed or adjustablerates. Thiswillbe
 9
     shown by competent e}q)attestimony and analysis. Secondly, the Noteenforcement was flawed
10
     and etched in Fraud by other defendants by intentionally or recklessly stating diat the loan was
11   being properiy serviced when it was not The consequence? The Note was subject to and
12   Plaintififunknowinglypaid excessive sums to be shown at trial for this plan and sdieme to
13   "overcharge"plaintiffby trickery, dishonest calculations and lack ofproper crediting ofsums
14   paid causingthe defisndants to be ui^ustlyenrichedin sums greaterthat           weretrue and

15
     conect Last,the plaintifrwas deceivedby lendersand servicersto believehis loan wouldbe
     altered to terms beneficialwhen in fswt the loan terms in the long run were ovorcharged.
16
            18. As to the "Servicing periodFraud" the followingis alleged: The defendants also
17
     Med to properiycredit payments made by plamtifr under the Note/Loan. There were also False
18
     Promises elicited to induce Plaintiffs reliance to his harm, to ^   Defendants also induced by
19
     deceit, plaintiffto stop piQiag his montiily loan pa^eatf for 3 months on the fUse offer
20
     dut if he did tills he conld get a better loan. Svch was ontme and known by defodants to
21
     be fids* what uttered. In this case at bar, the defoidants WHILE THE LOAN WAS CURREN'
22   rqnesented that the plaintiffSTOP payingon his loan so he could receivedie "benefits ofa loan
23   modificationor new loan." Plaintiffreasonably believed he "had" to do dus to receivethese
24   benefits. Defendants in tiudi and &ct neverintendedto accommodate plaintiffin this fiishion
25
     and when plaintiffstoi^ied paying to satisfy die false promise ofdefendants,diey commenced a

26
     foreclosure. This was fiaud by trick and devise and deception. Such is burdrasome, o^Bessive,
     malicious and warrants punitive damages.
27
             19 to 46. Reserved.
28




                                             Granados vs Shellpoint
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            47.     The Defendants had actual knowledge that the Plaintifis'account was current and
2    accurate butdeceptively treated sameas notaccurate so that they could iisethe inaccuracy to
3    institute a fineclosure on the Subject Property. The foreclosing Defei^antsalsoutilized amounts
     knownto tiieDefeodants to be inaccurate to detomine die amount allegedly due and owingfor
4


5
     purposes ofdama^g plaintiffs credit and to institute a foreclosure {noweding.
            48. Additionally, theDefendants concealed material fects known to them regarding

     Piainfifife for payment ofexc^ve fees and charges toreinstate the loan and toforeclose.
            49.     The Defendants made the above-referenced felse representations, concealments
     and non-disclosures witii knowledge of the         thereof^ intending to induce Plaintiffa'
10
     reliance, which the unsuq)ecting Plaintiff justifiably relied upon, resulting indamage totheir
11          BtanHing, tygfg <in4 potential thieat ofioM oftheir property. Plaintiff woeunaware ofdie
12   truefiicts. Had Plaintiff knowndie true fects. Plaintiff, among odierdiings, would not have
13
     maintained dieDefendants as dieirlender, servicer andtnistee (anddieiralleged agents) and/or

14   would have taken legal action immediately to save dieirbouse.
15
             50.     Asa result ofdieDefoidants* finudulent conduct, Plainti£& have suffered
16
     con^)ensatory, general and special damages in an amount to proof. Additionally, die Defendants
     acted with malice, firaud and/or oppression and, thus. Plaintiffs are entided toan award of
17
     punitive damages, general and special with statutory penalties and damages as appropriate.
18


19
                              THIRD CAUSE OF ACTION for NEGLIGENCE
20
             51. PUdntiffincoiporates herein by reference die allegations made dx>ve asdioug^
21   folly set fordi herein
22           52. At alltimes relevant herein, dieDefendants, acting allegedly oninformation and
23    beliefas Plaintiff' lender andloan servicer, trustee, hada duty to exercise reasonable care and
24         to            proper and aranrate loan records andto discharge andftilfill theother
25
      inddeatsattendant to the maintenance, accounting and servicing ofloan records, including,
26
      but not limited, accurate crediting ofpayments made byPlaintiffto avoid errors inaccounting
      causing foreclosures, et al.
27

28




                                            Granados vs Shellpolnt
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1           S3.      In taking the actions alleged above, and in &ilingto use carecommon in the
2    industry, tte Defendants and each of them by contribution and their roles as agents ofone
3    another, braadicd tfadr daty of care owed to Plaintillii in the servicing ofPlaindfb* loanby.
4
     among other tilings, fiuling to properly andaccurately creditpayments madebyPlaintifbtoward

5
     theloan, preparing andfiling &lse documents, and tiiteatening foreclosing ontheSubject
     Property wititout having thelegal authority and/or proper documentaticm todoso. Attenqitingto
 6
     fijreclose due to theseacts is negligent conduct, de minimus. This conductforeseeable cansed
7
     favored and damaged posonally andeconomically dieplaintiffin a sumto beproved attrial.
B
     Such behavior also cause an infliction of emotional distress as a fineseeable cwisequence so
 9
     proximately caused.
10
            S3a. Plaintiffalleges thatpartofthe duty owed wasto conduct thecollection of money
11   due from plaintiffby defendants based onstrict requirements of theFair Debt Collection
12   PracticesActas found at IS U.S.C. 1601 et seq. Byviolating this law,a dutywasbreached
13   dqiendently [intiie form of negligence pCTse] and indq)ettdenlly [standing alone as a sqiaralB
14        ofaction], thus           theplaintiffthereby in sums to beproved attriaL
15
           54. As a direct and proximate r^t oftheQ^gence and caidessn«s ofthe
     Defendants as setforth above, PlaintifiG) suffered general andspecial damages inanamount tobe
16
                  at trial    suffered emotional distress from the acts ofthe defendants
17

18
                             FOURTH CAUSE OF ACTION TO QUIET TITLE
19
             55. Plaintiffincorporates herein byreference the allegations made above asttougli fully
20
     set forth herein.
21
             56. Plaintiffis thelegal owner ofthe Subject Property whidihasa lispendens until tids
22   matter resolves. A diqnite hasarisen overthetrue ownership andcharacter ofthe property dueto
23   mishandling and decqitions concerning the original inromissory note aiKi deed oftrust Plaintiff
24   DENIES all defendants and all othersnot named ^i^io claimany interestin titesubjectpropoty.
25       S7. Plaintiffseek to quiet titie against theclaims ofDefendants and ALL PERSONS
26
     UNKNOWN, CLAIMINO ANY LEGAL OREQUITABLE RIGHT, TITLE, ESTATE, LIEN,
     OR INTEREST IN THE PROPERTY DESCRIBED IN THE COMPLAINT ADVERSE TO
27
     PLAINTIFF'S TITLE, OR ANY CLOUD ON PLAINTIFF'S TITLE THERETO; and DOES 1
28




                                              Granadoa vs Shellpolnt
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1       tfaiou^ 100(collectively tefemd to heteinas the **I1tle D^atdants**) as the TitleDefendants
    2   hold tiieniselves cat as entitled to fee simple ownodiip oftiie Subject
    3          58. In &ct, the Ittle Defendants have no right to title or interestin die Sul:jectPropeity
    4
        andnoright to entertain anyrights of owner^ including ^ rightto foreclosure, offering the
    5
        Subject Property forsale at a trustee'ssale,demanding possession or filing cas» for unlawful
        detainer. .
    6
               59.     Plaintiff seek to qmet title as ofthe date ofthe filing ofthe Notice ofDe&ult
    7
        Plaintiffsedcsa judicial declaration that the title to the SubjectPropertyis vestedin Plaintiff
    8
        alone and that the Defendants and each ofthem be declared to have no interest estate, rigjht, title
    9
        or interest in the subjecti»opertyand that the Title Defendants, their agents and assigns, be
10
        forever enjoined fiom assertingany estate,right title or interestin the SubjectProperty sulgectto
11      Phdntifi&'ri^. Htle^uld be clearedand ve^ in the nameofthe plaintiffherein.
12

13                          FIFTH CAUSE OF ACTION FOR AN ACCOUNTING

14              60. Plaintiffinccnporates herein by reference the allegations madeabove as though
15
        fully set forth herein.
               61. Plaintiffhas an account >vithtiie past and presentbenefidaiylaider and loan
16
        scrviccrthat must be kept accurate. Said duty auccceds the rightsunderthe note and binds
n
        subsequoit holders seeking enforcemmtafteran alleged breachofthe duty to pay.
18
                62. Plaintiffbelieves that his a^unt has beoi kept inaccurately by defoidants
19
        responsible forsuchaccounting. Such hasii^ured anddamaged the plaintiff.
20
              63. Plaintiffseeksajudicialorderrequiring an accounting to reconcile andrectify the
21      wrongful stateofplaintiffs reMrdsand account andto d^ennine his true financial record of debt
22      owed, payments and credits givennot yet doneafterrequestwasmade.
23


24       SIXTH Cause of Action for Temponiy Restraining Order and PreUminuy Ii^vnction to
25
                     EiUoin Threatened Foredosnre AND odier Equitable Rdief

26
                64. Plamtiff incorporates herehi by reference the allegations made above as though fiilly
27
        set forth herein.
28




                                                Granados va Shellpolnt
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1           65. PlaindfTshall move this court fora temporary restraining orderand then, Ordo-to
2    Show Cause for preliminary iiyunction for orders as follows:
3            A. Etgoining anyforeclosure ofproperty stated herein akatheaddress stated in these
4
     pleadings above, or in thealtonative,

5
            B. Forshortened time forDiscovery andtaking depositions on 3 day's notice ofcritical
     witnesses who are persons mostknowledgeable aboutthisforeclosure eventfor useat die OSC
 6
     hearing after the TRO hearing;
7
             D. For OSC re to determine the true real parties ia interest w^o is the true defendants
 8
     with "standing" as a matto* oflaw conconing each defendantappearing.
 9
            TheApplication willbe based onanother motion containing a Rule 65^licaticm,
10
     Authorities, Declarations, Exhibits, Declarationofstatutory notice and oral argument im>ffeted
11   at the time ofhearings, both TRO and OSC re preliminary injunction, thereafta.
12


13                     SEVETH CAUSE OFACTION for Violation of tlie Federal Debt
14                               CoUection Practices Act -15 USC 1692g
15          66. Plaintiff incorporates here each and every allegation set fortii above.
16          67. Plahitififallege that all defendants jointiy and severally witiiin the past year have
17   violated state and federal law aka FDCPAby illegal and improper acts, to wit, asking,
18
     HftmimHiiifl, soliciting, threatening and opprrasively, wrongfolly seddng for sums in p^rment of
     a debt not established nor proved and not due or validated by means prohibited by tiie language
19
     within the FDCPA,indusively.
20

21
            68. But for the breach, phdntif^ would not have been damaged. Plaintiffsedcs damages
22
     in a sum to be proved at trial by reason tiiereof against all defendants and Does, includuig
23
     statutory damages, attom^s fees and costs. Plaintiffs are entitie under the statutory scheme to
24
     statutory penaltiesand attorney's fees and seek such.
25


26

27


28




                                             Granados vs Shellpolnt
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 2

 3                                         PRAYER FOR RELIEF

 4
             Plaintiffpnys for reliefas follows:

 5
             1. Actualdamages,both general and special accordingto proof,
             2. Punitive damages in Hhe maximum amount allowed by law, jointly and severally
 6
     againstall defendants, ly way ofpunishmentand exanqile;
 7
             3. An award oftiie attorneys' fees and costs incurred herein; and
 8
             4. For orders reformingcontracts to reflectdie true intoition ofdie parties,or relief of
 9
     similar efifect;
10
             5. For a declaratmy reliefjudgment;
11           6. Foranyequitable reliefas maybe pleador plead         ami         ithereafier;
12             7. Such oth» and further reliefas die Court de«ns is just I
13
       JURY TRIAL IS DEMANDED
14

15

                                                                    Cario8<
16
                                                                    Plaintifffaiinose
17   By: CARLOS GRANADOS,
     22837 ZION CHAPEL DR
IB   ASHBURNVA 20148.

19
     Tel:
     E-Mail:
20
     Plaintiffin prose
21

22

23

24


25


26

27


28




                                             Granados vs Shellpoint
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                                   COMMONWEALTH OF VIRIGINA

                     IN THE COUNTY COURT OF LAW FOR LOUDOUN COUNTY

CARLOS GRANADOS,

                     Plaintiff,                           Cause NO.C15-24027-CV


V.



BANK OF AMERICA, N.A., and
SHELLPOINT MORTGAGE SERVICING,

                     Defendants.


                             NOTICE OF FILING NOTICE OF REMOVAL
                             TO THE UNITED STATES DISTRICT COURT

         PLEASE TAKE NOTICE that the Notice of Removal of the above-captioned action from

the County Court at Law for Loudoun County, Virginia to the United States District Court for

the Eastern District of Virginia, Alexandria Division, a copy of which is attached hereto, was

filed on June 12, 2015 with the Clerk in United States District Court for the Eastern District of

Virginia, Alexandria Division.

Dated: June 15,2015

                                            Respectfully submitted,

                                            BROCK AN^ SCOTT, PLLC

                                            Jason L.^amlin (VA Bar No. M6'\\ )
                                            484 Viking Drive, Suite 203
                                            Virginia Beach, VA 23452
                                            (757)213-2959 (Phone)
                                            (757) 16-6488 (Facsimile)
                                            Jason.Hamlin@.brockandscott.com
                                             Attorneys for Defendants




1692473/15601.0030
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                              CERTIFICATE OF SERVICE


        I hereby certify that on June 15, 2015, that I served a true and correct copy of the

NOTICE OF REMOVAL via First Class U.S. Mail to Carlos Granados, 22837 Zion Chapel Dr.,

Ashbum, VA 20148.




                                          Respectfully submitted,

                                           BROCK AND 8^2^, PLLC

                                          Jason L. Harbin (VA Bar No. V^A/ )
                                          484 Vikin^rive, Suite 203
                                           Virginia Beach, VA 23452
                                           (757)213-2959 (Phone)
                                           (757) 16-6488 (Facsimile)
                                           Jason.Hamlinfa),brockandscott.com
                                           Attorneys for Defendants




1665717/15601.0014
